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 1                                                             The Honorable Michelle L. Peterson

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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7
                                           AT SEATTLE
 8
     SCOTTSDALE INSURANCE COMPANY,
 9                                                     Case No. 2:20-cv-01026-JCC-MLP
                    Plaintiff,
10
                                      ORDER GRANTING THIRD-PARTY
            v.                        DEFENDANT RICE INSURANCE, LLC’S
11                                    UNOPPOSED MOTION FOR AN
     LFH CARE LLC D/B/A FAITH FAMILY  EXTENSION OF TIME TO FILE A
12   HOME; CHANGMIN AN; SONJA SUNGEUN RESPONSIVE PLEADING TO
     AN; DONNA KELLER, BY AND THROUGH DEFENDANT DONNA KELLER’S
13   HER DURABLE POWER OF ATTORNEY    CROSSCLAIM AGAINST THIRD-
                                      PARTY DEFENDANT RICE
     AGENT, JEANNE SLONECKER,
14                                    INSURANCE, LLC
                    Defendants.
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     LFH CARE LLC D/B/A FAITH FAMILY
16   HOME; CHANGMIN AN; and SONJA
     SUNGEUN AN,
17
                    Third-Party Plaintiffs,
18
            v.
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20   RICE INSURANCE, LLC, a Washington
     limited liability company,
21
                    Third-Party Defendant.
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24   ORDER GRANTING THIRD-PARTY DEFENDANT RICE            MARKUN ZUSMAN FRENIERE & COMPTON LLP
     INSURANCE, LLC’S UNOPPOSED MOTION FOR EXTENSION           1500 SW First Avenue, Suite 1020
     OF TIME TO RESPOND TO DEFENDANT KELLER’S                     Portland, Oregon 97201-5882
     CROSSCLAIM                                                           503-224-9294
     USDC: 2:20-cv-01026-JCC-MLP
     Page 1 of 2
            Case 2:20-cv-01026-JCC-MLP Document 28 Filed 10/19/20 Page 2 of 2




 1          Presently before the Court is Third-Party Defendant Rice Insurance, LLC’s (“Rice”)

 2   stipulated motion to extend Rice’s deadline to respond to Defendant Donna Keller’s crossclaim

     against Rice.
 3
            Good cause appearing, the Court GRANTS the stipulation. Rice shall respond to the
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     crossclaim on, or before, October 23, 2020. It is so ordered.
 5

 6   Presented by:
 7   s/ Ross Van Ness
     Ross Van Ness, WSBA #53065
 8   1500 SW First Avenue, Suite 1020
     Portland, Oregon 97201-5882
 9   Telephone: 503-224-9294
     Facsimile: 503-224-1123
10   rvanness@mzclaw.com

11   Attorney for Third-Party Defendant
     RICE INSURANCE, LLC
12

13
     DATED this 19th day of October 2020.
14


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16                                                        MICHELLE L. PETERSON
                                                          United States Magistrate Judge
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24   ORDER GRANTING THIRD-PARTY DEFENDANT RICE              MARKUN ZUSMAN FRENIERE & COMPTON LLP
     INSURANCE, LLC’S UNOPPOSED MOTION FOR EXTENSION             1500 SW First Avenue, Suite 1020
     OF TIME TO RESPOND TO DEFENDANT KELLER’S                       Portland, Oregon 97201-5882
     CROSSCLAIM                                                             503-224-9294
     USDC: 2:20-cv-01026-JCC-MLP
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